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‘U.S. Department of Justice
United States Marshals Service

  

   

x

PROCESS RECEIPT AND RETURN

  

 

COURT CASE NUMBER ’

 

PLAINT FF — ~— J '
Hen Hongoy) iy \)-Cv OO BQR Lres-PAS
DEFENDANT TYPE OF PROCESS

BE [oe

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J RT DOC

ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

\% Stood Wal RA CdALO CRonter

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

Number of process to’be

 

[ RI DOC

18 SLATE HIL RD.
CRANSTON, RI 02920

served with this Form'285

  

 

 

Number of parties to Be =
served in this case

  
 
   

 

Check for service
on U.S.A,

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business und Alternate Addresses, oe

All Telephone Numbers, and Estimated Times Available for Service):
Fold

 

Fold

 

 

 

 

Ar
PLAINTIFF

CL] DEFENDANT

Signature of Attorney other Originator requesting service on behalf of:

Ay 05 HON SG?

 

DATE

Y4Fl€

TELEPHONE NUMBER

 

 

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

 

District of | | District to

Total Process
: Origin Serve

bo 0 LAE

{ acknowledge receipt for the total
number of process indicated.
(Sign only for USM 285 if more

than one USM 285 is submitted) No,

 

 

 

 

Za

Signatyre of Authorized USMS Deputy or Clerk

su le

 

 

I hereby certify and return that I have personally served 0 have legal evidence of service, [] have

executed as shown in "Remarks", the process described

on the individual , company, corporation, etc,, at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

(J hereby certify and return that | am unable to locate the individual, company, corporation, etc, named above (See remarks below)

Name and title of individual served (if not shown above) '

Nei $x. Ke Assr-

 

LJ A person of suitable age and discretion
then residing in defendant's usual place

 

g
Address (complete onty different than showu above)

LE 6.71

  
 

 

 

 

of abode
Date / / Time

/ o/s . ge
Lilt LES
. Signatire of U.S<Nfaishal or Deputy

  

 

 

 

Total Charges Advance Deposits

48.99

Total Mileage Charges] Forwarding Fee

including endeavors)

at

Service Fee

05.09

 

 

 

 

Amount owed to U.S, Marshal* or
(Amount of Refund*)

 

$0.00

 

on fer

LL

REMARKS:

 

1, CLERK OF THE COURT

2. USMS RECORD

3. NOTICE OF SERVICE

' 4, BILLING STATEMENT": To be returned to the U.S, Marshal with payment,
if any amount is owed, Please remit promptly payable to U.S. Marshal,

5, ACKNOWLEDGMENT OF RECEIPT

DISTRIBUTE TO:

   

_' PRIOR EDITIONS MAY BE USED

Form USM-285
Rev. 11/13

 

 

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

 

was received by me on (date)

et personally served the summons on the individual at (place)

 

on (date) 5 or

 

Cj I left the summons at the individual’s residence or usual place of abode with (name)

, 4 person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

© I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

On (date) 3 Or

 

 

© I returned the summons unexecuted because ; OF

CT Other (specify),

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true. 2?

/ oo
|

{
hae
Date: b 17 (iy

 

 

Server's signature

De ¢ wr Fld ) ef, “Joa

Printed name and title

D7

Server 's address

 

 

Additional information regarding attempted service, etc:

 

 

 
